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                                                                                    October 7, 2022

VIA ECF
The Honorable Sarah L. Cave
United States District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007

     Re:     Catherine McKoy, et al. v. The Trump Corporation, et al., 18-cv-9936 (LGS) (SLC)

Dear Judge Cave:

        We write on behalf of all parties pursuant to the Court’s August 9, 2022 order, see ECF
456 at 1, to certify that the parties have completed fact discovery, subject only to the exceptions
previously approved by the Court, see ECF 469; ECF 479; ECF 481.

                                                                     Respectfully submitted,
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